    Case: 23-60069   Document: 233-5     Page: 1   Date Filed: 04/17/2023




                             NO. 23-60069


         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT


                        STATE OF TEXAS, et al.,

                              Petitioners,

                                   v.

  UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
          and MICHAEL S. REGAN, Administrator,
        United States Environmental Protection Agency,

                             Respondents.


    RESPONSE OF SIERRA CLUB, AIR ALLIANCE HOUSTON,
     AND DOWNWINDERS AT RISK IN OPPOSITION TO
     LOUISIANA’S MOTION TO STAY THE FINAL RULE



/s/ Joshua D Smith                      /s/ Kathleen L. Riley
Joshua D. Smith                         Kathleen L. Riley
Sierra Club                             Seth L. Johnson
2101 Webster Street, Suite 1300         Earthjustice
Oakland, California 94612               1001 G St NW, Ste. 1000
415-977-5560                            Washington, DC 20001
415-977-5704                            202-745-5227
joshua.smith@sierraclub.org             202-797-5245
                                        kriley@earthjustice.org
Zachary M. Fabish                       sjohnson@earthjustice.org
Sierra Club
50 F St NW, 8th Floor
    Case: 23-60069   Document: 233-5    Page: 2   Date Filed: 04/17/2023




Washington, DC 20001                   Counsel for Sierra Club,
650-388-8446                           Downwinders at Risk, and Air
zachary.fabish@sierraclub.org          Alliance Houston

Counsel for Sierra Club
                                       Filed: April 17, 2023
Case: 23-60069           Document: 233-5           Page: 3       Date Filed: 04/17/2023




                           TABLE OF CONTENTS

TABLE OF CONTENTS ................................................................... i
TABLE OF AUTHORITIES .............................................................ii
INTRODUCTION............................................................................. 2
STANDARD OF REVIEW ............................................................... 4
ARGUMENT .................................................................................... 4
   I. LOUISIANA IS NOT LIKELY TO SUCCEED ON THE
      MERITS. .................................................................................... 4
      A. Venue does not lie in this Court. ........................................ 5
      B. Louisiana Contributes Multiple Parts Per Billion of Cross-
         State Ozone Pollution According to Louisiana’s Own
         Assessment, EPA’s 2018 Guidance, and EPA’s Proposed
         and Final Disapproval Rule Modeling. ............................... 7
      C. Louisiana Cannot Cite Any Authority Prohibiting EPA
         From Developing the Record After a SIP Submission ..... 10
      D. Louisiana Does Not Have “Reliance Interests” That EPA
         Was Required to Address in the Disapproval Rule. ......... 12
   II. LOUISIANA WILL NOT SUFFER IRREPARABLE HARM.
       .............................................................................................. 14
   III. A STAY WOULD HARM OTHER PARTIES AND THE
     PUBLIC INTEREST. .............................................................. 17
CONCLUSION ............................................................................... 21
CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME
LIMIT ............................................................................................... 1
CERTIFICATIONS UNDER ECF FILING STANDARDS ............. 2
CERTIFICATE OF SERVICE ......................................................... 3




                                                   i
        Case: 23-60069         Document: 233-5         Page: 4      Date Filed: 04/17/2023




                              TABLE OF AUTHORITIES
CASES
Alcoa, Inc. v. EPA,
  No. 04-1189, 2004 WL 2713116 (D.C. Cir. Nov. 24, 2004) .................... 7
Allina Health Servs. v. Sebelius,
  746 F.3d 1102 (D.C. Cir. 2014) ............................................................ 13
ATK Launch Systems, Inc. v. EPA,
 651 F.3d 1194 (10th Cir. 2011) .......................................................... 5, 6
Chaplaincy of Full Gospel Churches v. England,
 454 F.3d 290 (D.C. Cir. 2006) .............................................................. 15
Christopher v. SmithKline Beecham Corp.,
 567 U.S. 142 (2012) ........................................................................ 12, 13
DHS v. Regents of the Univ. of Cal.,
 140 S. Ct. 1891 (2020) .......................................................................... 13
Downwinders At Risk et al. v. Regan,
 No. 21-cv-3551 (N.D. Cal. Jan. 12, 2022) ............................................ 12
Enter. Int’l, Inc. v. Corporacion Estatal Petrolera Ecuatoriana,
 762 F.2d 464 (5th Cir. 1985) .................................................................. 4
EPA v. E.M.E. Homer City Generation, L.P.,
 572 U.S. 489 (2014) .............................................................................. 21
Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co.,
 463 U.S. 29 (1983) ................................................................................ 11
S. Ill. Power Coop. v. EPA,
  863 F.3d 666 (7th Cir. 2017) .................................................................. 5
Texas v. EPA,
  829 F.3d 405 (5th Cir. 2016) .......................................................... 16, 17
Texas v. EPA,
  No. 10-60961, 2011 WL 710598 (5th Cir. Feb. 24, 2011) .................. 5, 6
Texas v. EPA,
  983 F.3d 826 (5th Cir. 2020) .................................................................. 5
Winter v. Nat. Res. Def. Council, Inc.,
 555 U.S. 7 (2008) ........................................................................ 4, 14, 16

                                                      ii
        Case: 23-60069          Document: 233-5           Page: 5      Date Filed: 04/17/2023




Wis. Gas Co. v. FERC,
 758 F.2d 669 (D.C. Cir. 1985) .................................................. 15, 16, 17


STATUTES
42 U.S.C § 7607 ....................................................................................... 11
42 U.S.C. § 7409 ........................................................................................ 2
42 U.S.C. § 7410 ........................................................................ 2, 3, 17, 19
42 U.S.C. § 7602 ...................................................................................... 12
42 U.S.C. § 7607 .............................................................................. 5, 6, 11
42 U.S.C. § 7604 ...................................................................................... 12
5 U.S.C. § 553 .......................................................................................... 11


REGULATIONS
80 Fed. Reg. 65,291 (Oct. 26, 2015)..................................................... 2, 18
87 Fed. Reg. 9,798 (Feb. 22, 2022) .................................................. 3, 9, 14
88 Fed. Reg. 9,336 (Feb. 13, 2023) .................1, 2, 3, 6, 7, 9, 10, 12, 14, 21




                                                        iii
      Case: 23-60069   Document: 233-5   Page: 6   Date Filed: 04/17/2023




     Sierra Club, Air Alliance Houston, and Downwinders at Risk

(collectively, the “Proposed-Intervenors”) file this response in opposition

to the Petitioner State of Louisiana’s (“Louisiana”) motion to stay EPA’s

final action, Interstate Transport of Air Pollution for the 2015 8-Hour

Ozone National Ambient Air Quality Standards, 88 Fed. Reg. 9,336

(Feb. 13, 2023) (“Disapproval Rule”). Proposed-Intervenors are a

national organization and Houston- and Dallas-area organizations with

longstanding, well-demonstrated interests in protecting their members

and the public from ozone air pollution, which causes serious health and

welfare harms. The Disapproval Rule resulted from a suit they, along

with other organizations, brought in 2021 against EPA over its illegal

failure to timely act on the implementation plans many states had

submitted to address their contribution to downwind ozone

nonattainment issues. See, e.g., Complaint, Downwinders At Risk et al.

v. Regan, No. 21-cv-3551 (N.D. Cal. filed May 12, 2021). In this

response, Proposed-Intervenors add certain key points to those EPA

makes in opposition to Louisiana’s meritless motion.




                                         1
      Case: 23-60069   Document: 233-5   Page: 7   Date Filed: 04/17/2023




                           INTRODUCTION

     Under the Clean Air Act, EPA is required to set and periodically

revised National Ambient Air Quality Standards (“NAAQS”) for various

criteria air pollutants, including ground level ozone, at levels “requisite

to protect the public health.” 42 U.S.C. § 7409(b)(1). EPA set a new 70

parts per billion (“ppb”) ozone NAAQS in 2015, 80 Fed. Reg. 65,291

(Oct. 26, 2015), triggering an obligation for states to submit state

implementation plans (“SIPs”) including provisions, among other

things, prohibiting “any source or other type of emissions activity

within the State from emitting any air pollutant in amounts which will

contribute significantly to nonattainment in, or interfere with

maintenance by, any other State.” 42 U.S.C. §§ 7410(a)(1),

7410(a)(2)(D)(i)(I) (the “Good Neighbor” provision). Many states,

including Louisiana, submitted SIPs, and EPA ultimately disapproved

21 state SIPs in its Disapproval Rule, applying a common analytical

framework and nationwide ozone transport modeling. 88 Fed. Reg.

9,336; see also Proposed-Intervenors Response in Opposition to the

Motions to Stay the Final Rule (March 27, 2023) at 1-4.




                                         2
      Case: 23-60069   Document: 233-5   Page: 8   Date Filed: 04/17/2023




     EPA found that Louisiana contributed to unsafe ozone levels

across state lines, including “9.51 ppb to Galveston County Texas.” 88

Fed. Reg. at 9,356. Louisiana itself admits in its Motion to Stay and in

its SIP submission that it contributes multiple parts per billion of ozone

pollution to the Houston-Galveston-Brazoria nonattainment area. La.

Mot. at. 9; see also 87 Fed. Reg. 9,798, 9,811-12, tbl. LA-1 (Feb. 22,

2022) (ozone contributions of 3.80, 4.72, 1.71, and 1.92 to receptors in

Texas were “[i]dentified by Louisiana”). Nevertheless, Louisiana failed

to include any permanent or enforceable emissions controls in its SIP

submission, doing nothing to address Louisiana’s cross-state air

pollution or fulfill the Clean Air Act’s Good Neighbor requirement. 88

Fed. Reg. at 9,356; 42 U.S.C. §§ 7410(a)(1), 7410(a)(2)(D)(i)(I). Indeed, to

the extent that Louisiana complains that EPA took too long to act on

Louisiana’s SIP submittal, Louisiana never attempted to enforce EPA’s

deadline. La. Mot. at 14-16.5 Instead, Proposed-Intervenors did. See



5 Nor would such an action be proper before this Court. See 42 U.S.C. §

7604(a)(2) (“any person may commence a civil action . . . against the
Administrator where there is alleged a failure of the Administrator to
perform any act or duty under this chapter which is not discretionary”
in which instance “[t]he district courts shall have jurisdiction”)
(emphasis added).
                                         3
         Case: 23-60069   Document: 233-5   Page: 9   Date Filed: 04/17/2023




Downwinders At Risk et al. v. Regan, No. 21-cv-3551 (N.D. Cal.) Despite

Louisiana’s do-nothing plan being correctly disapproved, Louisiana now

seeks a stay of the Disapproval Rule. Its stay motion should be denied.

                          STANDARD OF REVIEW

      A stay is “an extraordinary and drastic remedy,” only available if

Louisiana can carry the “heavy burden” of making a strong showing

that (1) it is likely to succeed on the merits; (2) it will be irreparably

injured by the challenged action absent a stay; (3) issuance of the stay

will not substantially injure the other parties interested in the

proceeding; and (4) the public interest supports a stay. Enter. Int’l, Inc.

v. Corporacion Estatal Petrolera Ecuatoriana, 762 F.2d 464, 472 (5th

Cir. 1985); Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

                                 ARGUMENT

    I.     LOUISIANA IS NOT LIKELY TO SUCCEED ON THE
           MERITS.

      Louisiana fails to carry its heavy burden of demonstrating that

EPA’s Disapproval Rule is likely arbitrary, capricious, not in accordance

with law, or in excess of EPA’s statutory authority. Texas v. EPA, 983

F.3d 826, 835 (5th Cir. 2020).




                                            4
     Case: 23-60069    Document: 233-5    Page: 10   Date Filed: 04/17/2023




         A. Venue does not lie in this Court.

      Louisiana is unlikely to succeed because it has filed this challenge

in the wrong court. The Clean Air Act dictates that challenges to

nationally applicable actions “may be filed only” in the U.S. Court of

Appeals for the District of Columbia Circuit. 42 U.S.C. § 7607(b)(1);

Texas v. EPA, No. 10-60961, 2011 WL 710598, at *3 (5th Cir. Feb. 24,

2011) (unpublished) (transferring Texas’s petition for review of EPA’s

call for thirteen states over seven federal circuits to revise their state

plans to the D.C. Circuit because it was “one small piece of a large

swath of related litigation”); see also ATK Launch Systems, Inc. v. EPA,

651 F.3d 1194, 1197 (10th Cir. 2011) ([Petitioner’s] contention that

EPA's case-by-case consideration of areas and boundaries transforms a

national standard to a regional or local rule is ultimately

unpersuasive”); S. Ill. Power Coop. v. EPA, 863 F.3d 666 (7th Cir. 2017)

(“there is no explicit or implicit exception for challenges to nationally

applicable rules based on local or regional ‘factors’ or ‘effects.’”).

Similarly, challenges to regionally applicable actions that EPA finds are

based on a determination of nationwide scope and effect, and for which




                                          5
     Case: 23-60069    Document: 233-5   Page: 11   Date Filed: 04/17/2023




EPA publishes such a finding, “may be filed only” in the D.C. Circuit. 42

U.S.C. § 7607(b)(1).

     The Disapproval Rule is nationally applicable because, on its face,

“the legal impact of the action as a whole” applies to all 21 states–

spanning the entire continental U.S.–whose plans improperly failed to

eliminate emissions that significantly contribute to nonattainment in

other states. Texas v. EPA, 2011 WL 710598, at *3 (“This far-flung

collection of states comprises no ‘region’ of which we are aware.”). It is

the “face” of the action, not the “effects complained of or petitioner’s

challenge” that determines whether an action is nationally applicable.

ATK Launch Systems, 651 F.3d at 1197 (EPA’s action designating 31

nonattainment areas across the country, including areas “with no local

or regional connection to each other, such as California, Pennsylvania,

and Alabama,” was nationally applicable).

     Even if the Disapproval Rule were not nationally applicable, EPA

reasonably found and published a finding that the rule is “based on a

determination of ‘nationwide scope or effect,’” with venue accordingly

lying only in the D.C. Circuit. 88 Fed. Reg. at 9,380; see Alcoa, Inc. v.

EPA, No. 04-1189, 2004 WL 2713116, at * 1 (D.C. Cir. Nov. 24, 2004)


                                         6
     Case: 23-60069   Document: 233-5   Page: 12   Date Filed: 04/17/2023




(unpublished). As Louisiana effectively concedes, the Disapproval Rule

applies a uniform framework of policy judgments and technical methods

to disapprove 21 state plans that each failed to include measures to

reduce interstate ozone. See La. Mot. at 5-6 (describing EPA’s “four-step

process”), 8-10 (describing national modeling EPA relied on in

Disapproval Rule development). The rule is also based on EPA’s

nationwide determination that an attempted reliance on back-

trajectories to discount ozone transport linkages—used in the SIP

submittals of not only Louisiana but also Alabama, Arkansas, Indiana,

Kentucky, Texas, and West Virginia—was flawed. 88 Fed. Reg. at

9,354-56, 9,360. Because EPA’s determination of nationwide scope and

effect was reasonable, venue belongs in the D.C. Circuit, and a stay of

the rule in this Court would be improper.

        B. Louisiana Contributes Multiple Parts Per Billion of
           Cross-State Ozone Pollution According to Louisiana’s
           Own Assessment, EPA’s 2018 Guidance, and EPA’s
           Proposed and Final Disapproval Rule Modeling.

     The crux of Louisiana’s attempt to argue that the Disapproval

Rule is unlawful rests on the theory that EPA failed to use the 2018

EPA ozone modeling Louisiana used in its SIP submittal, La. Mot. at

12, instead of the modeling in either the proposed disapproval or the

                                        7
     Case: 23-60069   Document: 233-5   Page: 13   Date Filed: 04/17/2023




final Disapproval Rule. However, all of EPA’s modeling analyses—

including the 2018 modeling that Louisiana adopted in its own SIP

proposal—show significant ozone contributions from Louisiana across

state lines. Not only has Louisiana failed to demonstrate a likelihood of

success on the merits, Louisiana’s argument demonstrates why it fails

on the merits themselves.

     As Louisiana admits in its own motion, in 2018 EPA projected

that Louisiana contributed 3.80 parts per billion (ppb) to the Brazoria

County, Texas receptor, La. Mot. at 9, in addition to contributing 3.06,

3.38, and 4.72 ppb to Harris County, Texas receptors, 1.92 ppb to

Denton County, Texas, 1.71 ppb to Tarrant County, Texas, and 0.84 ppb

to Sheboygan County, Wisconsin. La. Mot. Ex. A, Memorandum from

Peter Tsirigotis, Attachment C, at C-2 (Mar. 27, 2018) (“Tsirigotis

Memo”). All of these counties are in designated ozone nonattainment

areas, and all of the Texas areas are in “severe” nonattainment.6




6 See EPA, Greenbook, Current Nonattainment Counties for All Criteria

Pollutants, available at
https://www3.epa.gov/airquality/greenbook/ancl.html (last visited April
17, 2023).
                                        8
     Case: 23-60069   Document: 233-5   Page: 14   Date Filed: 04/17/2023




Louisiana relied on this EPA modeling in its SIP submission. 87 Fed.

Reg. at 9,811.

     The 2016v2 modeling EPA provided in its proposed SIP

disapproval projected that Louisiana’s highest contribution to

nonattainment and maintenance receptors was even higher, 7.03 ppb in

Brazoria County, 87 Fed. Reg. at 9,813-14, tbl. LA-2, and EPA’s 2016v3

modeling cited in the final Disapproval Rule projected Louisiana’s

highest contribution of 9.51 ppb to Galveston County. 88 Fed. Reg. at

9,356. Nonetheless, even if there was merit to Louisiana’s contention

that EPA is somehow precluded from regarding modeling analyses after

Louisiana submitted its SIP—which there is not—even Louisiana’s

preferred 2018 projections that it “relied on,” demonstrate that

Louisiana contributed ozone pollution more than five times the

significance threshold to a nonattainment area. La. Mot. at 9; Tsirigotis

Memo at C-2.

     However, despite this through line of modeling showing pollution

from Louisiana contributes large amounts of ozone pollution to areas

that do not attain the ozone standard, Louisiana “included no

permanent and enforceable controls in its SIP submission” to address


                                        9
     Case: 23-60069   Document: 233-5   Page: 15   Date Filed: 04/17/2023




that pollution. 88 Fed. Reg. at 9,356 (emphasis added). Thus, none of

the available data, including Louisiana’s preferred 2018 data, support

Louisiana’s contention that EPA acted arbitrarily and capriciously in

rejecting Louisiana’s SIP for failure to address ozone emissions.

        C. Louisiana Cannot Cite Any Authority Prohibiting
           EPA From Developing the Record After a SIP
           Submission

     Louisiana wrongly contends that the Act’s deadlines and, broadly,

“cooperative federalism” somehow require the record for EPA to

consider when acting on a SIP to close upon SIP submission. See La.

Mot. 14-15. This contention directly contravenes the legally required

notice-and-comment process under which EPA acts on SIP submissions,

and has no basis in the Act or administrative law.

     Louisiana provides no convincing authority for its position that

the record is locked once a state submits a SIP, La. Mot. at 14-15; nor

can it, as such a theory directly conflicts with the requirement that EPA

regard all information in front of it as part of the record. Far from

supporting Louisiana, see id. at 14-15, State Farm actually requires

agencies like EPA to carefully consider all evidence available when

making decisions. Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut.


                                        10
     Case: 23-60069   Document: 233-5   Page: 16   Date Filed: 04/17/2023




Auto. Ins. Co., 463 U.S. 29, 43, 56 (1983) (agency action is arbitrary and

capricious where it “runs counter to the evidence before the agency”;

vacating agency decision in one direction “every indication in the record

points the other way”) (internal quotes omitted). Moreover, actions like

EPA approval or disapproval of a SIP must go through notice-and-

comment proceedings, and the agency must respond rationally to

comments. 42 U.S.C § 7607(d)(6)(C) (EPA must base promulgated rules

on “information or data . . . placed in the docket as of the date of such

promulgation.”) (emphasis added); 5 U.S.C. § 553. It would severely

undermine the integrity of the notice-and-comment process for the

agency to ignore pertinent information that arises from a comment—

indeed any EPA rulemaking that ignored relevant material developed

during the notice-and-comment process would itself be arbitrary and

capricious and contrary to the Clean Air Act.

     Though Louisiana seeks (at 16) to trace out a slippery slope

scenario, under which EPA “blow[s] past the statutory deadlines” and

ultimately takes some action the state disagrees with, the slope actually

stops almost immediately. When EPA fails to meet a legal deadline to

act, the Act allows citizens and states to sue in district court. 42 U.S.C.


                                        11
     Case: 23-60069   Document: 233-5   Page: 17   Date Filed: 04/17/2023




§ 7604(a)(2) (authorizing “any person” to sue EPA when the person

alleges EPA failed to carry out nondiscretionary action); see also id. §

7602(e) (defining “person” to include “State”). Along with other

organizations, Proposed-Intervenors filed just such a suit and won

relief. E.g., Consent Decree, Downwinders At Risk et al. v. Regan, No.

21-cv-3551 (N.D. Cal. Jan. 12, 2022). Louisiana chose not to. Its

purported concern now thus rings hollow.7

     The Clean Air Act requires EPA to review SIP submissions from

states to assess whether they meet “all the applicable requirements” —

including the Good Neighbor requirement—under Section 110 of the

Clean Air Act, and if those SIP submissions do not, EPA must

disapprove them. See 42 U.S.C. § 7410(k)(2) & (3). That is what

happened here.

        D. Louisiana Does Not Have “Reliance Interests” That
           EPA Was Required to Address in the Disapproval
           Rule.

     Louisiana’s cites to Christopher v. SmithKline Beecham Corp., 567

U.S. 142 (2012), Allina Health Servs. v. Sebelius, 746 F.3d 1102 (D.C.


7 Louisiana did not submit its SIP proposal to EPA until November 13,

2019—over a year after the October 1, 2018 deadline. See 88 Fed. Reg.
9,337; id. at 9,356.
                                        12
     Case: 23-60069    Document: 233-5   Page: 18     Date Filed: 04/17/2023




Cir. 2014), and DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891

(2020) do not establish that EPA is prohibited from considering all

evidence available when evaluating SIP submissions. La. Mot. at 11-12.

The facts of SmithKline Beecham are completely inapposite; there, the

Court considered whether an agency’s interpretation of its regulation

provided in an amicus brief with “no opportunity for public comment”

was entitled to Auer deference where the interpretation conflicted with

“decades-long practice.” 567 U.S. at 156-57. Similarly inapplicable,

Allina Health Servs. rejected a final rule that, being a “volte-face” of the

proposal, “was not a logical outgrowth of the proposed rule.” 746 F.3d at

1109. Likewise, Regents of the Univ. of Cal. addressed agency rescission

of a “longstanding policy” that afforded immigrants certainty in their

immigration status, including their ability to attend school, work, and

raise families, for five years. 140 S. Ct. at 1913.

     None of those cases are relevant where, as here, EPA proposed

disapproval of state SIPs, accepted public comments (including

comments from Louisiana), and then responded to those comments

when it finalized disapproval of the state SIPs. Indeed, EPA’s ozone

modeling was not a “surprise” to Louisiana. In 2018, Louisiana was on


                                         13
     Case: 23-60069   Document: 233-5   Page: 19   Date Filed: 04/17/2023




notice of its significant cross-state ozone emissions, as the state

acknowledged in its own SIP submission, and this continued to be true

in the proposed and final Disapproval Rule. 87 Fed. Reg. at 9,311-12,

tbl. LA-1; La. Mot. at 9; 88 Fed. Reg. at 9,356. Louisiana has no

cognizable “reliance interests” in not being required to meet Clean Air

Act obligations to resolve cross-state ozone emissions. Nevertheless,

Louisiana “included no permanent and enforceable controls in its SIP

submission.” 88 Fed. Reg. at 9,356 (emphasis added).

   II.   LOUISIANA WILL NOT SUFFER IRREPARABLE HARM.

     Louisiana seeks a stay to the Disapproval Rule by alleging

potential harm from a separate agency action not actually before this

Court. La. Mot. at 16. In addition, Louisiana tries to argue that the

Disapproval Rule somehow “disrupt[s]” the Clean Air Act’s “cooperative

federalism.” La. Mot. at 16. These conclusory allegations fail to

establish the imminent and concrete irreparable injury necessary for a

stay of the Disapproval Rule. Winter v. Nat. Res. Def. Council, Inc., 555

U.S. 7, 22 (2008) (“Issuing a preliminary injunction based only on a

possibility of irreparable harm is inconsistent with our characterization

of injunctive relief as an extraordinary remedy”) (emphasis added).


                                        14
     Case: 23-60069   Document: 233-5   Page: 20   Date Filed: 04/17/2023




     None of Louisiana’s purported harms “directly result” from the

Disapproval Rule. Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir.

1985) (a movant must show concrete, imminent, and substantial harm

“will directly result from the action which the movant seeks to enjoin.”).

Indeed, Louisiana cites only the Midcontinent Independent System

Operator’s (“MISO”) comments on the proposed Federal Implementation

Plan (“FIP”) in its attempt to identify the required imminent and

concrete harms resulting from the Disapproval Rule. La. Mot. at 16.

These speculative harms are not the result of the Disapproval Rule, but

of a separate agency action that is not even before the Court.

     Louisiana’s cursory statement of irreparable harm underscores

the fundamental defect of the stay motion: Louisiana’s burden is to

show that the Disapproval Rule it is challenging in this action will

cause irreparable harm of “discrete injury that is of such imminence

that equitable relief is urgently necessary.” Chaplaincy of Full Gospel

Churches v. England, 454 F.3d 290, 298 (D.C. Cir. 2006) (denying

injunctive relief where a Navy employment policy only reduced

opportunities for possible promotions, and review of subsequent non-

promotion decisions was available) (internal quotes omitted) (emphasis


                                        15
     Case: 23-60069   Document: 233-5   Page: 21   Date Filed: 04/17/2023




in original). Pointing to another rule that Louisiana may (or may not)

challenge in some other court, at some other time, does not show

harm—let alone imminent irreparable harm—as a direct result of the

Disapproval Rule. Wis. Gas Co. v. FERC, 758 F.2d at 674.

     But even then, Louisiana’s alleged harms are riddled with

uncertainty. Louisiana does not address any changes between the

proposed and final EPA FIP that affect the harms claimed by MISO in

its comments to the proposed FIP. La. Mot. at 16. Louisiana likewise

does not identify any specific facilities that are at risk of retirement as a

result of the proposed or final FIP. Nor does Louisiana cite a single

instance where implementation of any pollution trading plan has

actually caused adverse reliability impacts in support of its argument

that the FIP would “threaten[] electric grid stability.” Id. These

allegations are insufficient to show the concrete, imminent harm

necessary to warrant a stay. Winter, 555 U.S. at 22.

     Citing Texas v. EPA, 829 F.3d 405, 433 (5th Cir. 2016), Louisiana

also suggests that the Disapproval Rule could cause irreparable harm

by “disrupt[ing] . . . cooperative federalism,” but fails to explain how.

La. Mot. at 16. Nor can it. Texas v. EPA did not conclude that EPA’s


                                        16
       Case: 23-60069   Document: 233-5   Page: 22   Date Filed: 04/17/2023




disapproval of a SIP disapproval results in irreparable harm as a

matter of law; indeed, the Clean Air Act explicitly directs EPA to

disapprove inadequate state plans. 42 U.S.C. § 7410(c)(1), (k)(3).

Instead, in Texas v. EPA, the Court found harm because Texas

submitted sworn declarations alleging that EPA’s action in that case

harmed state agencies’ “ability” to fulfill their “regulatory function[s].”

See Texas Mot. for Stay at 18, Texas v. EPA, No. 16-60118 (filed Mar.

17, 2016), ECF Doc. 00513428276. There is no such evidence of harm

here, and a bare assertion of theoretical harm to “cooperative

federalism” is insufficient to warrant a stay. Wis. Gas Co., 758 F.2d at

674.

  III.    A STAY WOULD HARM OTHER PARTIES AND THE
          PUBLIC INTEREST.

       A stay would harm Proposed-Intervenors’ members and the

public, because it would further delay pollution reductions necessary to

attaining the 2015 Ozone NAAQS. Every state plan disapproved in the

Disapproval Rule failed to include permanent and enforceable

reductions in ozone-causing NOx pollution despite EPA determinations

that the states contributed toward harmful levels of ground-level ozone

in downwind states. Staying the Disapproval Rule would retain in place

                                          17
     Case: 23-60069   Document: 233-5   Page: 23   Date Filed: 04/17/2023




not only Louisiana’s do-nothing plan, but the similar do-nothing plans

submitted by twenty other states. Accordingly, a stay of the Disapproval

Rule would cause substantial harm to Proposed-Intervenors’ members

and members of the public who live, work, and recreate in areas

burdened with unhealthy levels of ground-level ozone pollution.

     Nitrogen oxide emissions generally increase ozone concentrations

in the ambient air.8 Ground-level ozone, is a corrosive air pollutant that

inflames the lungs, constricts breathing, and likely kills people.9 Ozone

causes and exacerbates asthma attacks, emergency room visits,

hospitalizations, and other serious health harms.10 Ozone-induced

health problems can force people to change their ordinary activities,




8 See EPA, “Ground-level Ozone Basics,” available at

https://www.epa.gov/ground-level-ozone-pollution/ground-level-ozone-
basics#formation (last visited April 17, 2023).
9 See 80 Fed. Reg. 65,292, 65,308 (Oct. 26, 2015); EPA, Integrated

Science Assessment for Ozone and Related Photochemical Oxidants, at
2-20 to -24, tbl.2-1 (Feb. 2013) (EPA-HQ-OAR-2008-0699-0405)
(“Science Assessment”).
10 See, e.g., EPA, Policy Assessment for the Review of the Ozone

National Ambient Air Quality Standards, at 3-18, 3-26 to -29, 3-32 to -
35 (Aug. 2014) (EPA-HQ-OAR-2008-0699-0404) (“Policy Assessment”);
Science Assessment at 2-16 to -18, 2-20 to -24, tbl.2-1.

                                        18
     Case: 23-60069   Document: 233-5      Page: 24   Date Filed: 04/17/2023




requiring children to stay indoors and forcing people to take medication

and miss work or school.11

     Ozone can harm healthy adults, but others are even more

vulnerable.12 Because their respiratory tracts are not fully developed,

children are especially vulnerable to ozone pollution, particularly when

they have elevated respiratory rates, as when playing outdoors.13 People

with lung disease and the elderly also have heightened vulnerability14

People with asthma suffer greater impacts from ozone exposure and are

more vulnerable at lower levels of exposure.15

     EPA’s Disapproval Rule is a response to the failure of Louisiana

and twenty other states to fulfil their obligations under the Clean Air

Act to prevent emissions that “contribute significantly to nonattainment

in, or interfere with maintenance” of the ozone NAAQS in “any other

state.” 42 U.S.C. § 7410(a)(2)(D)(i). That failure subjects millions of

people in downwind states throughout this country to respiratory



11 See, e.g., Policy Assessment at 4-12.

12 See 80 Fed. Reg. at 65,310.

13 See, e.g., Policy Assessment at 3-81 to -83.

14 See 80 Fed. Reg. at 65,310.

15 Id. at 65,311 n.37, 65,322.


                                        19
     Case: 23-60069    Document: 233-5   Page: 25   Date Filed: 04/17/2023




health harms. Nowhere in Louisiana’s motion does it even attempt to

address this massive harm.

        Exposure to ozone does not just harm the public generally, but as

explained in Proposed-Intervenors’ Motion to Intervene filed March 27,

2023, it harms Proposed-Intervenors’ members’ ability to enjoy daily

life. See, e.g., Mot. to Intervene, ECF Doc. 100-1 at 17-19; see also

Attached Declarations, ECF Doc. 100-2 (Owen Decl. ¶¶ 11-13; Wiley

Decl. ¶¶ 8-10; O’Quinn Decl. ¶¶ 5-6, 10-11; Mannchen ¶¶ 5-7; Lewis

Decl. ¶¶ 7-8; Hadayia ¶ 2; Wiley Decl. ¶¶ 5-10; Reyes Decl. ¶¶ 9-12).

        Louisiana’s emissions cause such harm, contributing significant

ozone pollution to downwind states, including multiple parts per billion

to ozone levels in Alabama (2.77-3.25 ppb), Arkansas (1.14-1.15 ppb),

Mississippi (3.88-4.64 ppb), Oklahoma (0.78-1.67 ppb), Tennessee (1.11-

1.36 ppb), and Texas (up to 12.57 ppb). See EPA, Data File with 2016v3

Ozone Design Values and Contributions, EPA-HQ-OAR-2021-0663-

0070.




                                         20
     Case: 23-60069   Document: 233-5   Page: 26   Date Filed: 04/17/2023




     Similarly, Louisiana’s emissions contribute towards more than 1%

of the NAAQS16 in many downwind areas failing to achieve safe levels

of air quality. Notably, Louisiana’s ozone contributions most harm

Texas, Louisiana’s co-petitioner in this case, with over twelve million

people living in the Texas nonattainment areas to which Louisiana

contributes between 1.02 and 9.51 ppb: Bexar, Brazoria, Collin, Dallas,

Denton, Galveston, Harris, Montgomery, and Tarrant counties.17

                            CONCLUSION

     The Court should deny Louisiana’s motion to stay EPA’s

Disapproval Rule.

                                  Respectfully submitted,

                                  /s/ Joshua Smith
                                  Joshua Smith
                                  Sierra Club
                                  2101 Webster Street, Suite 1300

16 EPA’s Disapproval Rule, as with three prior multistate ozone

transport-related rulemakings, is based on the agency’s determination
that 1% of the NAAQS is the “appropriate threshold” for assessing
interstate pollution impacts, 88 Fed. Reg. at 9,342, an approach that
has been upheld by the Supreme Court. See EPA v. E.M.E. Homer City
Generation, L.P., 572 U.S. 489, 524 (2014).
17 See EPA, Greenbook, 8-Hour Ozone (2015) Nonattainment Areas by

State/County/Area, available at
https://www3.epa.gov/airquality/greenbook/jncty.html (last visited April
17, 2023); EPA, Data File with 2016v3 Ozone Design Values and
Contributions, EPA-HQ-OAR-2021-0663-0070.
                                        21
Case: 23-60069   Document: 233-5   Page: 27   Date Filed: 04/17/2023




                             Oakland, CA 94612
                             (415) 977-5560 (phone)
                             joshua.smith@sierraclub.org


                             Counsel for Sierra Club




                                   22
     Case: 23-60069   Document: 233-5   Page: 28   Date Filed: 04/17/2023




CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT

     The undersigned counsel states that this motion complies with

Fed. R. App. P. 27(d)(2)(A) because it contains 3,951 words, excluding

the caption, signature blocks, and required certifications, as counted by

a word processing system and, therefore, is within the word limit. This

motion also complies with typeface requirements of Fed. R. App. P.

27(d)(1)(E) because it has been prepared in a proportionally spaced

typeface in 14-point Century Schoolbook font.

     Dated: April 17, 2023

                                        /s/ Joshua Smith
                                        Joshua Smith
                                        Counsel for Sierra Club
     Case: 23-60069   Document: 233-5   Page: 29   Date Filed: 04/17/2023




      CERTIFICATIONS UNDER ECF FILING STANDARDS

     Pursuant to paragraph A(6) of this Court’s ECF Filing Standards,

I hereby certify that (1) required privacy redactions have been made,

5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the

paper document, 5th Cir. R.25.2.1; and (3) the document has been

scanned for viruses with the most recent version of a commercial virus

scanning program and is free of viruses.

     Dated: April 17, 2023

                                        /s/ Joshua Smith
                                        Joshua Smith
                                        Counsel for Sierra Club
     Case: 23-60069   Document: 233-5     Page: 30   Date Filed: 04/17/2023




                      CERTIFICATE OF SERVICE

     On this 17th day of April, 2023, a true and correct copy of the

foregoing Response in Opposition to Louisiana’s Motion to Stay

the Final Rule was filed with the electronic case filing (“ECF”) system

of the U.S. Court of Appeals for the Fifth Circuit, which will provide

electronic notice to counsel of record.


                                          /s/ Joshua Smith
                                          Joshua Smith
